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 4                                    UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF WASHINGTON
 5                                            SEATTLE DIVISION
      IN RE:                                                       CASE NO: 22-10025
 6
       JOAN RAIDER RAWLINGS,                                       DECLARATION OF MAILING
 7                                                                 CERTIFICATE OF SERVICE
                                                                   Chapter: 13
 8                                                                 ECF Docket Reference No. 50


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11   On 7/11/2022, I did cause a copy of the following documents, described below,
     Motio for an Order Approving Compromise, Notice, Declaration in Support, and Proposed Order ECF Docket Reference
12   No. 50

13   Motion and Proposed Order to Shorten Time 52

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19   to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
     sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
20   incorporated as if fully set forth herein.
     I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
21   com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
     Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
22   fully set forth herein.
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
23
     served electronically with the documents described herein per the ECF/PACER system.
24   DATED: 7/11/2022
                                                      /s/ Christina L Henry
25                                                    Christina L Henry 31273

26                                                    Henry & DeGraaff, PS
                                                      113 Cherry St, PMB 58364
27                                                    Seattle, WA 98104
                                                      206 324 6677
28                                                    chenry@hdm-legal.com


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                                       UNITED STATES BANKRUPTCY COURT
 4                                     WESTERN DISTRICT OF WASHINGTON
                                               SEATTLE DIVISION
 5
        IN RE:                                                           CASE NO: 22-10025
 6
        JOAN RAIDER RAWLINGS,                                            CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                         Chapter: 13
 8                                                                       ECF Docket Reference No. 50


 9

10

11   On 7/11/2022, a copy of the following documents, described below,

     Motio for an Order Approving Compromise, Notice, Declaration in Support, and Proposed Order ECF Docket Reference
12   No. 50

13   Motion and Proposed Order to Shorten Time 52

14

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     were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
20   postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
     herein.
21   The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
     referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
22   Service and that it is true and correct to the best of my knowledge, information, and belief.

23   DATED: 7/11/2022


24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                Christina L Henry
                                                                  Henry & DeGraaff, PS
28                                                                113 Cherry St, PMB 58364
                                                                  Seattle, WA 98104


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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL (D)=DUPLICATE ADDRESS
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                 EXCLUDE                                 EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING          (U)COURTESY   NEF                       (U)US BANK NATIONAL ASSOCIATION   AS
NCRS ADDRESS DOWNLOAD                                                             TRUSTEE F
CASE 22-10025
WESTERN DISTRICT OF WASHINGTON
MON JUL 11 11-48-8 PST 2022



EXCLUDE
US BANKRUPTCY COURT                       AMERICAN EXPRESS CENTURION BANK         AMERICAN EXPRESS NATIONAL BANK
700 STEWART ST ROOM 6301                  PO BOX 981537                           CO BECKET AND LEE LLP
SEATTLE WA 98101-4441                     EL PASO TX 79998-1537                   PO BOX 3001
                                                                                  MALVERN PA 19355-0701




AMERICAN EXPRESS NATIONAL BANK   AENB     CITIBANKSEARS                           HENRY DEGRAAFF PS
CO ZWICKER AND ASSOCIATES PC              PO BOX 6241                             HENRY DEGRAAFF PS
ATTORNEYSAGENTS FOR CREDITOR              SIOUX FALLS SD 57117-6241               119 1ST AVE S 500
PO BOX 9043                                                                       SEATTLE WA 98104-3400
ANDOVER MA 01810-0943



                                                                                  DEBTOR
INTERNAL REVENUE SERVICE CENTRALIZED      INTERNAL REVENUE SERVICE CENTRALIZED    JOAN RAIDER RAWLINGS
INSOLV                                    INSOLV                                  4534 NE 204TH PL
INTERNAL REVENUE SERVICE                  PO BOX 7346                             LAKE FOREST PARK WA 98155-1751
PO BOX 7346                               PHILADELPHIA PA 19101-7346
PHILADELPHIA PA 19101-7346




JUSTIN D BALSER                           (P)DSNB MACY S                          NATIONSTAR MORTGAGE LLC
5 PARK PLZ STE 1400                       CITIBANK                                ATTN BANKRUPTCY
IRVINE CA 92614-2545                      1000 TECHNOLOGY DRIVE MS 777            PO BOX 619081
                                          O FALLON MO 63368-2222                  DALLAS TX 75261-9081




QUALITY LOAN SERVICE CORPORATION OF       SUTTELL HAMMER PS                       SYNCHRONY BANKCHEVRON
WASHINGT                                  PO BOX C90006                           ATTN BANKRUPTCY DEPT
CO ROBERT MCDONALD                        BELLEVUE WA 98009                       PO BOX 965060
108 1ST AVE S 202                                                                 ORLANDO FL 32896-5060
SEATTLE WA 98104-2538



                                                                                  EXCLUDE
US BANK NATIONAL ASSOCIATION              US BANK NATIONAL ASSOCIATION   AS       UNITED STATES TRUSTEE
CO NATIONSTAR MORTGAGE LLC DBA MR CO      TRUSTEE F                               700 STEWART ST STE 5103
ATTN BANKRUPTCY DEPT                      60 LIVINGSTON AVE EPMNWS3D              SEATTLE WA 98101-4438
PO BOX 619096                             SAINT PAUL MN 55107-2292
DALLAS TX 75261-9096



                                          EXCLUDE                                 DEBTOR
CHRISTINA L HENRY                         JASON WILSONAGUILAR                     (D)JOAN RAIDER RAWLINGS
HENRY DEGRAAFF PS                         600 UNIVERSITY ST 1300                  4534 NE 204TH PL
113 CHERRY STREET                         SEATTLE WA 98101-4102                   LAKE FOREST PARK WA 98155-1751
PMB 58364
SEATTLE WA 98104-2205




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ADDRESSES WHERE AN EMAIL IS PRESENT WERE SERVED VIA "CM/ECF E-SERVICE" THROUGH THE UNITED STATES BANKRUPTCY
COURT'S NOTICE OF ELECTRONIC FILING ("NEF")SYSTEM.

(Trustee)                                (US Trustee)                             (Creditor)
Jason Wilson-Aguilar                     United States Trustee                    represented by:
600 University St #1300                  700 Stewart St Ste 5103                  Jesse A P Baker
Seattle, WA 98101                        Seattle, WA 98101                        Aldridge Pite, LLP
represented by:                                                                   4375 Jutland Dr Ste 200
Jason Wilson-Aguilar                     USTPRegion18.SE.ECF@usdoj.gov            PO Box 17933
600 University St #1300                                                           San Diego, CA 92177-0933
Seattle, WA 98101
                                                                                  ecfwawb@aldridgepite.com
courtmail@seattlech13.com




(Debtor)                                 (Interested Party)
Joan Raider Rawlings                     represented by:
4534 NE 204th Pl                         Jesse A P Baker
Lake Forest Park, WA 98155               Aldridge Pite, LLP
represented by:                          4375 Jutland Dr Ste 200
Christina L Henry                        PO Box 17933
Henry & DeGraaff, P.S.                   San Diego, CA 92177-0933
113 Cherry Street
Pmb 58364                                ecfwawb@aldridgepite.com
Seattle, WA 98104-2205

chenry@hdm-legal.com




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